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                 Port Guide
                   2018-2019




                                    CRUISE CAPITAL OF THE WORLD   1
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    Royal Caribbean | The Crown of Miami: November 2018, Royal Caribbean Cruises Ltd. officially
    opened Terminal A, the largest cruise terminal in the U.S., in partnership with Miami-Dade County. The
    new terminal serves as homeport to some of Royal Caribbean’s largest ships.

1     GLOBAL GATEWAY                                                                                             CRUISE CAPITAL OF THE WORLD   2
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3   GLOBAL GATEWAY                                                                                        CRUISE CAPITAL OF THE WORLD                4
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    ECONOMIC IMPACT SUMMARY
    The local and regional economic impacts of marine cargo and cruise related              The total value of the economic impact created by cargo containers moving via
    business activities at PortMiami are large, diverse, and poised for continued growth.   PortMiami is estimated at $35 billion dollars to the State of Florida. This economic
                                                                                            impact includes increased value added during the production of export cargo,
    PortMiami positively impacts more than 22,000 direct jobs in Miami-Dade County          as well as transportation, warehousing, and retail distribution activities for import
    and the surrounding areas. User related and indirect job totals springboard             cargo. This import and export activity generates state income equaling $10 billion
    PortMiami’s total employment impact to approximately 334,500 jobs.                      dollars, and state and local taxes at approximately $2 billion dollars annually.

    Personal incomes are also impacted by PortMiami business activities. Direct             As a preferred Global Gateway to Latin America, Europe, the Middle East, India,
    wages from cargo and cruise activities total more than $890 million dollars, and        and Asia; and as the passenger industry’s undisputed Cruise Capital of the World,
    as a result of this economic infusion, more than $1.60 billion additional dollars of    PortMiami propels more than $43 billion dollars in economic activity throughout
    total income and local consumption expenditures are created by port businesses.         Miami-Dade County and the State of Florida.




5     GLOBAL GATEWAY                                                                                                                         CRUISE CAPITAL OF THE WORLD        6
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               CRUISE                                                               PAGE 15
                                                                                                           CARGO                                                                  PAGE 21

     Total Cruise Ships Docked........................................................1,220      Total Cargo Ships Docked........................................................1,000
     Total Cruise Passengers................................................... 5,592,000        Total TEU.........................................................................1,084,000
     Total Cruise Lines (FY 2018) ........................................................ 2 2   Total Tonnage.................................................................. 9,611,960
     Total Cruise Ships (FY 2018)........................................................ 5 5    Estimated Value................................................................$27 billion



    KEY ADVANTAGES                                                                                                                        KEY ADVANTAGES
    Modern cruising started at PortMiami over 50 years ago serving the world’s                   A trade nexus at the crossroads of north-south and east-west trade lanes.
    top cruise lines.
                                                                                                 Closest US East Coast deepwater container port to the Panama Canal.
    From its prime Downtown Miami location, cruise passengers can easily
    discover what Miami has to offer.
                                                                                                 Access to Florida’s huge consumer market – Florida is the 3rd most populous
    Close proximity to the Caribbean, Panama, Mexico and beyond.                                 state with 20 million residents and more than 120 million visitors annually.

    Fast access from Miami International Airport via port tunnel.                                Global air connections via Miami International Airport, MIA is ranked first in
                                                                                                 international freight and third in international passengers in the US.
    Goods, supplies, and provisions are sourced locally.
                                                                                                 All major global ocean carrier alliances call at PortMiami.
    A renowned global destination, offering cruise passengers pre- and post-
    cruise activities that supports overall travel and tourism: sports, entertainment,
                                                                                                 Solid labor, law enforcement and business community partnerships.
    dining, arts, parks and beaches.

7   GLOBAL GATEWAY                                                                                                                                      CRUISE CAPITAL OF THE WORLD            8
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    REGIONAL SUMMARY
                              2018 TEU TOTAL

                                            5%


                        33%


                                                          49%

                              13%



     Asia            Americas & Caribbean    Europe/Med          Middle East/India/Africa


            2018 TEU IMPORT                           2018 TEU EXPORT
                         3%

                                                                      7%
                                                           14%

                                                     8%
       48%                       32%




                         17%                                             70%




9   GLOBAL GATEWAY                                                                                       CRUISE CAPITAL OF THE WORLD   10
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     INDUSTRY ASSETS

                                                                                     GANTRY CRANES
                                                                                     13 ship-to-shore cranes including six super Post-Panamax, the largest in the
     -50/-52 DEEPWATER CHANNEL                                                       Southeastern U.S. The cranes have an outreach of 22 containers wide, stack
                                                                                     up to nine containers high above deck, and 11 containers below deck with no
     Only port south of Virginia at -50/-52 feet capable of handling fully laden     height restrictions.
     14,000 TEU vessels with a fast access channel only 2.5 nautical miles to the
     Atlantic Ocean.




                                                                                     ON-DOCK INTERMODAL RAIL
     TRACTOR TUG SERVICE
                                                                                     The freight rail connects the port with the national rail system. The service
     Expanded towing and harbor ship services that provide a Z – drive thrust        expedites the movement of goods throughout Florida and the continental U.S.
     unit with an 80 ton bollard pull and 6,700 rated horse power capacity for the   reaching 70% of America’s market within four days.
     berthing and departure of containerized cargo vessels.




                                                                                     DIRECT-ACCESS TUNNEL
     NOAA PORTS® INSTALLED
                                                                                     The creation of a new vehicular access point directly linking PortMiami to the
     NOAA’s Center for Operational Oceanographic Products and Services               nation’s interstate highway system has been a boon for downtown development.
     successfully partnered with PortMiami to install a new PORTS® system. As        Close to 80% of port-generated traffic has been relocated away from downtown
     one of 31 systems operating across the nation’s waterways, these real-time      streets to the PortMiami Tunnel. This successful Public-Private Partnership
     oceanographic and weather observations assist pilots and other mariners to      continues to receive recognition and award for its innovative design, creative
     safely navigate to and from PortMiami’s docks.                                  financing, and breakthrough engineering.
11     GLOBAL GATEWAY                                                                                                               CRUISE CAPITAL OF THE WORLD       12
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     FOREIGN TRADE ZONE 281
     PortMiami Foreign Trade Zone 281 encompasses a large Service Area in
     Miami-Dade County, stretching north from SW 8th Street to County Line
     Road, and east from the Urban Boundary Line to Miami Beach.

     The Foreign Trade Zone Program encourages value-added activities at US
     warehouse facilities in competition with foreign alternatives.

     Cargo merchandise may be brought into FTZ 281 for storage, inspection,
     testing, repair, distribution, relabeling, repackaging, display, and disposal.
     With approval, companies are also able to manufacture, assemble, and
     process goods within the Foreign Trade Zone.

     User benefits include more flexibility, reduced costs, and focused government
     oversight resulting in greater profits. In the global marketplace, Foreign
     Trade Programs provide a competitive advantage and opportunities for
     companies to keep and grow their manufacturing or distribution operations
     in the United States.




                                                                                                 “
                                           FTZ
                                                1
                                              STEP



                                        Application
                                    Applicant completes FTZ
                                    application and submits                                      Ultimately, FTZ 281
                                    application to PortMiami
                                                                (1-7 Days)
                                                                                                 is the most strategic
                                                                                                 location to set up
                                   Fast, easy,
                  3
               STEP


             FTZ
                                    low-cost
                                   application
                                                                               2
                                                                             STEP


                                                                            FTZ
                                                                                                             “
                                                                                                 your import and
                                                                                                 export business in
          Activation
                                      Application Fee: $2,500
                                                                         Designation             South Florida.
          Once designated by                                         PortMiami will coordinate
        the FTZ board, applicant                                     with National FTZ Board
       works with CBP to become                                        on applicant’s behalf
           an active FTZ site                                         FTZ board will approve
                               (2-6 Months)            (1-30 Days)
                                                                       site for designation




13     GLOBAL GATEWAY                                                                                                              CRUISE CAPITAL OF THE WORLD   14
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     CRUISE PARTNERSHIPS




15   GLOBAL GATEWAY                                                                                 CRUISE CAPITAL OF THE WORLD   16
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                                                                                                    VIRGIN VOYAGES

                                                                                                    The Virgin Voyages cruise terminal will
                                                                                                    be located on the northwest side of the
                                                                                                    port. The unique Palm Grove designed
                                                                                                    facility will break ground Fall 2019. It
                                                                                                    is slated for completion by November
                                                                                                    2021, in time for the arrival of the line’s
                                                                                                    first ship Scarlet Lady.




TERMINAL COMING 2021




                                                                                                      MSC CRUISES

                                                                                                      In January 2019, a Letter of Intent
                                                                                                      between MSC Cruises and Miami-
                                                                                                      Dade County was signed. The line
                                                                                                      plans to increase its annual passenger
                                                                                                      throughput and to design, build and
                                                                                                      operate two new cruise facilities at
                                                                                                      PortMiami.




17TERMINAL COMING 2022
        GLOBAL GATEWAY                                                                                    CRUISE CAPITAL OF THE WORLD         18
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                                                                                                          DISNEY CRUISE LINE

                                                                                                          September 2018, an MOU with Disney
                                                                                                          Cruise Line to expand with two cruise
                                                                                                          ships and a possible new cruise
                                                                                                          terminal was approved by Miami-Dade
                                                                                                          County Commissioners.




19FUTURE GLOBAL
         TERMINAL TO BE ANNOUNCED
                GATEWAY                                                                                       CRUISE CAPITAL OF THE WORLD    20
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     CARGO PARTNERSHIPS




21   GLOBAL GATEWAY                                                                                  CRUISE CAPITAL OF THE WORLD   22
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     COUNTRY TEU
                COUNTRIES                      TOTAL TEU                           IMPORT COUNTRIES              IMPORT TEU
           1    China                            159,535                       1   China                            140,469
           2    Honduras                          61,538                       2   Honduras                          26,236
           3    Dominican Republic                43,609                       3   Guatemala                         21,912
           4    Guatemala                         38,281                       4   Dominican Republic                19,620
           5    El Salvador                       26,402                       5   Italy                             16,089
           6    Costa Rica                        25,629                       6   Vietnam                           14,252
           7    Jamaica                           22,447                       7   Spain                             13,020
           8    Italy                             22,175                       8   Nicaragua                         11,252
           9    Colombia                          21,644                       9   France                            10,827
           10   Nicaragua                         19,866                      10   Korea                             10,316
           11   India                             17,585                      11   El Salvador                       10,296
           12   Vietnam                           17,295                      12   Netherlands                        8,071
           13   Peru                              16,713                      13   Peru                               7,760
           14   Spain                             16,460                      14   Costa Rica                         7,702
           15   Haiti                             15,389                      15   Mexico                             7,702
           16   Panama                            15,184                      16   Thailand                           7,376
           17   Ecuador                           15,140                      17   Indonesia                          7,260
           18   Korea                             14,588                      18   Ecuador                            6,985
           19   Indonesia                         14,153                      19   India                              6,794
           20   Trinidad And Tobago               13,208                      20   Germany                            6,738
           21   France                            12,473                      21   Taiwan                             6,657
           22   Netherlands                       11,451                      22   Colombia                           5,833
           23   Taiwan                            10,741                      23   Turkey                             5,668
           24   Mexico                             9,125                      24   Belgium                            4,604
           25   Germany                            8,580                      25   Malaysia                           3,881
           26   Thailand                           8,346                      26   Hong Kong                          3,511
           27   Malaysia                           6,914                      27   Singapore                          3,383
           28   Turkey                             6,093                      28   Jamaica                            2,988
           29   Belgium                            5,883                      29   Haiti                              2,754
           30   Singapore                          5,273                      30   Japan                              2,711



23   GLOBAL GATEWAY                                                                                     CRUISE CAPITAL OF THE WORLD   24
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                EXPORT COUNTRIES             EXPORT TEU
           1    Honduras                         35,302
           2    Dominican Republic               23,990
           3    Jamaica                          19,458
           4    China                            19,066
           5    Costa Rica                       17,927
           6    Guatemala                        16,369
           7    El Salvador                      16,106
           8    Colombia                         15,811
           9    Panama                           12,961
           10   Trinidad And Tobago              12,952
           11   Haiti                            12,635
           12   India                            10,791
           13   Peru                              8,953
           14   Nicaragua                         8,614
           15   Ecuador                           8,155
           16   Indonesia                         6,894
           17   Italy                             6,086
           18   Korea                             4,272
           19   Barbados                          4,085
           20   Taiwan                            4,084
           21   Leeward And Windward              3,817
           22   Pakistan                          3,679
           23   Netherlands Antilles              3,556
           24   Spain                             3,439
           25   Netherlands                       3,380
           26   Vietnam                           3,043
           27   Malaysia                          3,033
           28   Surinam                           2,583
           29   United Arab Emirates              2,441
           30   Georgia                           1,960



25   GLOBAL GATEWAY                                                                                    CRUISE CAPITAL OF THE WORLD   26
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     COUNTRY VALUE
                COUNTRIES                     TOTAL VALUE                          IMPORT COUNTRIES            IMPORT VALUE
           1    China                       $4,933,312,658                     1   China                      $4,489,310,094
           2    Honduras                    $2,747,441,279                     2   Honduras                   $1,511,600,517
           3    Dominican Republic          $1,989,930,208                     3   Dominican Republic           $973,123,026
           4    El Salvador                 $1,419,618,392                     4   Nicaragua                    $698,818,651
           5    Guatemala                   $1,200,025,845                     5   Guatemala                    $681,258,342
           6    Jamaica                     $1,020,434,177                     6   El Salvador                  $584,102,177
           7    Nicaragua                     $994,680,705                     7   Italy                        $550,614,735
           8    Italy                         $902,819,895                     8   Vietnam                      $430,610,592
           9    Indonesia                     $844,584,568                     9   Jamaica                      $427,528,371
           10   Costa Rica                    $773,018,953                    10   Korea                        $399,505,669
           11   Colombia                      $658,192,360                    11   India                        $298,672,698
           12   India                         $603,576,537                    12   Spain                        $293,310,354
           13   Panama                        $594,957,688                    13   Indonesia                    $231,898,609
           14   Korea                         $553,046,935                    14   Malaysia                     $231,699,404
           15   Haiti                         $543,087,968                    15   France                       $230,827,314
           16   Vietnam                       $524,964,503                    16   Republic Of China            $228,915,994
           17   Malaysia                      $513,734,651                    17   Haiti                        $228,253,764
           18   Taiwan                        $498,586,108                    18   Mexico                       $227,080,973
           19   Ecuador                       $474,286,852                    19   Germany                      $199,889,306
           20   Peru                          $471,868,939                    20   Costa Rica                   $194,802,237
           21   Trinidad And Tobago           $439,156,433                    21   Thailand                     $193,267,884
           22   Spain                         $438,874,889                    22   Netherlands                  $179,508,600
           23   Netherlands                   $349,456,066                    23   Belize                       $165,397,815
           24   Pakistan                      $343,504,189                    24   Colombia                     $153,780,421
           25   France                        $269,278,068                    25   Hong Kong                    $146,548,971
           26   Mexico                        $249,136,638                    26   Ecuador                      $144,551,244
           27   Germany                       $241,750,343                    27   Peru                         $126,329,548
           28   Thailand                      $227,115,944                    28   Singapore                    $124,776,252
           29   Hong Kong                     $188,819,002                    29   Turkey                       $103,381,159
           30   Singapore                     $176,497,065                    30   Belgium                      $102,087,879



27   GLOBAL GATEWAY                                                                                     CRUISE CAPITAL OF THE WORLD   28
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                EXPORT COUNTRIES              EXPORT VALUE
           1    Honduras                     $1,235,840,762
           2    Dominican Republic           $1,016,807,182
           3    El Salvador                    $835,516,215
           4    Indonesia                      $612,685,959
           5    Jamaica                        $592,905,806
           6    Costa Rica                     $578,216,716
           7    Panama                         $521,978,535
           8    Guatemala                      $518,767,503
           9    Colombia                       $504,411,939
           10   China                          $444,002,564
           11   Trinidad And Tobago            $404,491,423
           12   Italy                          $352,205,160
           13   Peru                           $345,539,391
           14   Ecuador                        $329,735,608
           15   Haiti                          $314,834,204
           16   India                          $304,903,839
           17   Nicaragua                      $295,862,054
           18   Pakistan                       $283,030,026
           19   Malaysia                       $282,035,247
           20   Republic Of China              $269,670,114
           21   Netherlands                    $169,947,466
           22   Korea                          $153,541,266
           23   Spain                          $145,564,535
           24   Barbados                       $122,093,961
           25   United Arab Emirates           $118,965,032
           26   Leeward And Windward           $112,753,396
           27   Surinam                        $104,174,970
           28   Vietnam                         $94,353,911
           29   Ireland                         $89,208,461
           30   Netherlands Antilles            $85,780,680


                                                                        SFCT Groundbreaking: South Florida Container Terminal celebrated a groundbreaking for its Cargo
                                                                        Densification project, which will increase the terminal’s operational capacity.
29   GLOBAL GATEWAY                                                                                                              CRUISE CAPITAL OF THE WORLD              30
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     COMMODITY VALUE
           COMMODITIES                                                  TOTAL VALUE           COMMODITIES                                                                TOTAL TEU
     1     Machinery · Computer · Air Conditioning, equipment & parts   $3,644,470,038   1    Furniture · Seats · Lighting · Lamps                                            62,636
     2     Household Goods · Miscellaneous                              $2,520,608,149   2    Machinery · Computer · Air Conditioning, equipment & parts                      54,778
     3     Apparel, non-knit                                            $2,151,017,229   3    Household Goods · Miscellaneous                                                 52,480
     4     Base Metals · Cermets                                        $2,016,048,998   4    Vehicles · Vehicle Parts                                                        45,989
     5     Electrical Machinery, equipment and parts                    $1,937,407,912   5    Plastics, articles thereof                                                      32,259
     6     Vehicles · Vehicle Parts                                     $1,307,483,442   6    Electrical Machinery, equipment and parts                                       30,010
     7     Plastics, articles thereof                                   $1,055,037,646   7    Food Preparations · Sauces · Soups                                              27,997
     8     Furniture · Seats · Lighting · Lamps                         $1,031,371,086   8    Beverages · Spirits · Water · Wine                                              26,635
     9     Medical · Surgical · Optical · Photography Instruments         $936,901,738   9    Pulp of Wood, waste, scrap, and recyclables                                     26,527
     10    Aircraft · Spacecraft and Parts                                $934,219,307   10   Apparel, non-knit                                                               23,863
     11    Apparel, knit or crochet                                       $811,706,518   11   Ceramics                                                                        18,989
     12    Cotton · Yarn · Woven Fabric                                   $666,743,809   12   Paper · Paperboard, articles thereof                                            18,987
     13    Leather Handbags · Travel Goods · Wallets · Saddlery           $532,866,908   13   Fruits and Nuts · Citrus · Melons, fresh                                        16,731
     14    Food Preparations · Sauces · Soups                             $526,808,813   14   Vegetables · Roots and Tubers                                                   16,315
     15    Fish · Crustaceans · Aquatic Invertebrates                     $499,891,532   15   Iron · Steel, articles thereof                                                  15,884
     16    Aluminum, articles thereof                                     $481,841,303   16   Wood, articles thereof                                                          14,885
     17    Iron · Steel, articles thereof                                 $442,252,442   17   Cotton · Yarn · Woven Fabric                                                    14,577
     18    Railway · Tramway Stock and Equipment                          $417,289,890   18   Base Metals · Cermets                                                           13,069
     19    Perfume · Cosmetics · Skin Care                                $380,804,486   19   Medical · Surgical · Optical · Photography Instruments                          12,650
     20    Tobacco · Manufactured Substitutes                             $366,912,563   20   Fruits and Nuts · Vegetables, prepared or preserved                             12,342
     21    Toys · Games · Sports Equipment                                $325,604,925   21   Iron · Steel, waste, scrap, and recyclables                                     12,082
     22    Paper · Paperboard, articles thereof                           $312,611,570   22   Fish · Crustaceans · Aquatic Invertebrates                                      11,553
     23    Beverages · Spirits · Water · Wine                             $296,100,485   23   Leather Handbags · Travel Goods · Wallets · Saddlery                            11,513
     24    Ceramics                                                       $296,088,051   24   Aluminum, articles thereof                                                      11,298
     25    Textiles · Bed, Table, Kitchen Linens · Worn Textiles          $233,964,783   25   Rubber, articles thereof                                                        11,239
     26    Rubber, articles thereof                                       $226,200,431   26   Apparel, knit or crochet                                                        10,431
     27    Base Metals, miscellaneous articles                            $221,326,710   27   Toys · Games · Sports Equipment                                                  9,981
     28    Ships · Boats · Floating Structures                            $199,066,839   28   Textiles · Bed, Table, Kitchen Linens · Worn Textiles                            9,506
     29    Wood, articles thereof                                         $195,027,632   29   Tobacco · Manufactured Substitutes                                               8,802
     30    Fruits and Nuts · Vegetables, prepared or preserved            $188,280,375   30   Perfume · Cosmetics · Skin Care                                                  8,181




31        GLOBAL GATEWAY                                                                                                                            CRUISE CAPITAL OF THE WORLD        32
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            COMMODITIES                                                  TOTAL STONS
      1     Household Goods · Miscellaneous                                  447,551
      2     Ceramics                                                         388,553
      3     Railway · Tramway Stock and Equipment                            370,396
      4     Machinery · Computer · Air Conditioning, equipment & parts       367,998
      5     Pulp of Wood, waste, scrap, & recyclables                        356,245
      6     Beverages · Spirits · Water · Wine                               345,231
      7     Furniture · Seats · Lighting · Lamps                             322,049
      8     Plastics, articles thereof                                       276,359
      9     Vehicles · Vehicle Parts                                         265,711
     10     Food Preparations · Sauces · Soups                               257,562
     11     Base Metals · Cermets                                            246,389
     12     Iron · Steel, waste, scrap, and recyclables                      222,666
     13     Fruits and Nuts · Citrus · Melons, fresh                         213,942
     14     Electrical Machinery, equipment and parts                        205,006
     15     Fruits and Nuts · Vegetables, prepared or preserved              200,140
     16     Vegetables · Roots and Tubers                                    192,445
     17     Paper · Paperboard, articles thereof                             186,407
     18     Wood, articles thereof                                           174,738
     19     Salt · Sulfur · Earth and Stone · Marble                         162,729
     20     Iron · Steel, articles thereof                                   154,560
     21     Apparel, non-knit                                                150,271
     22     Fish · Crustaceans · Aquatic Invertebrates                       131,852
     23     Aluminum, articles thereof                                       122,742
     24     Mineral Fuel · Oil, non-crude                                    121,496
     25     Cotton · Yarn · Woven Fabric                                     121,177
     26     Art of Stone · Plaster · Cement                                  101,609
     27     Meat · Edible Meat Offal                                          79,600
     28     Rubber, articles thereof                                          79,306
     29     Leather Handbags · Travel Goods · Wallets · Saddlery              78,446
     30     Textiles · Bed, Table, Kitchen Linen · Worn Textiles              77,254




33        GLOBAL GATEWAY                                                                                         CRUISE CAPITAL OF THE WORLD   34
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     IMPORT COMMODITIES                                                                                             EXPORT COMMODITIES
          COMMODITIES                                                  IMPORT TEU        COMMODITIES                                                               EXPORT TEU
     1    Furniture · Seats · Lighting · Lamps                             49,306    1   Vehicles · Vehicle Parts                                                        32,297
      2   Machinery · Computer · Air Conditioning, equipment & parts       25,825    2   Household Goods · Miscellaneous                                                 31,648
      3   Beverages · Spirits · Water · Wine                               22,496    3   Machinery · Computer · Air Conditioning, equipment & parts                      28,953
      4   Apparel, non-knit                                                21,580    4   Pulp of Wood, waste, scrap, and recyclables                                     26,405
      5   Household Goods · Miscellaneous                                  20,832    5   Food Preparations · Sauces · Soups                                              25,147
      6   Plastics, articles thereof                                       20,527    6   Furniture · Seats · Lighting · Lamps                                            13,329
      7   Electrical Machinery, equipment and parts                        18,500    7   Base Metals · Cermets                                                           12,803
      8   Ceramics                                                         17,876    8   Cotton · Yarn · Woven Fabric                                                    12,521
      9   Vegetables · Roots and Tubers                                    15,241    9   Plastics, articles thereof                                                      11,732
     10   Fruits and Nuts · Citrus · Melons, fresh                         14,680   10   Electrical Machinery, equipment and parts                                       11,509
     11   Vehicles · Vehicle Parts                                         13,693   11   Iron · Steel, waste, scrap, and recyclables                                     10,336
     12   Wood, articles thereof                                           12,231   12   Medical · Surgical · Optical · Photography Instruments                           7,635
     13   Paper · Paperboard, articles thereof                             11,378   13   Paper · Paperboard, articles thereof                                             7,609
     14   Fish · Crustaceans · Aquatic Invertebrates                       10,922   14   Iron · Steel, articles thereof                                                   6,218
     15   Iron · Steel, articles thereof                                    9,666   15   Meat · Edible Meat Offal                                                         5,137
     16   Apparel, knit or crochet                                          9,605   16   Textiles · Bed, Table, Kitchen Linens · Worn Textiles                            4,784
     17   Rubber, articles thereof                                          9,431   17   Ships · Boats · Floating Structures                                              4,492
     18   Fruits and Nuts · Vegetables, prepared or preserved               9,049   18   Beverages · Spirits · Water · Wine                                               4,139
     19   Tobacco · Manufactured Substitutes                                8,012   19   Leather Handbags · Travel Goods · Wallets · Saddlery                             4,022
     20   Aluminum, articles thereof                                        7,648   20   Perfume · Cosmetics · Skin Care                                                  3,662
     21   Leather Handbags · Travel Goods · Wallets · Saddlery              7,491   21   Aluminum, articles thereof                                                       3,650
     22   Toys · Games · Sports Equipment                                   6,762   22   Manmade Synthetic Filaments · Yarn and Woven Fabrics                             3,611
     23   Salt · Sulfur · Earth and Stone · Marble                          5,891   23   Base Metal, miscellaneous articles · Castors · Fixtures · Hardware               3,567
     24   Medical · Surgical · Optical · Photography Instruments            5,015   24   Fruits and Nuts · Vegetables, prepared or preserved                              3,293
     25   Glass and Glassware                                               4,788   25   Toys · Games · Sports Equipment                                                  3,220
     26   Textiles · Bed, Table, Kitchen Linens · Worn Textiles             4,722   26   Mineral Fuel · Oil, non-crude                                                    2,661
     27   Perfume · Cosmetics · Skin Care                                   4,519   27   Wood, articles thereof                                                           2,655
     28   Railway · Tramway Stock and Equipment                             4,427   28   Dairy Products · Bird's Eggs · Honey · Cheese · Butter                           2,519
     29   Art of Stone · Plaster · Cement                                   4,307   29   Apparel, non-knit                                                                2,283
     30   Cereal · Flour · Starch or Milk · Baker's Wares, prepared         3,861   30   Chemical Products, miscellaneous                                                 2,057




35    GLOBAL GATEWAY                                                                                                                            CRUISE CAPITAL OF THE WORLD       36
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37   GLOBAL GATEWAY                                                                                  CRUISE CAPITAL OF THE WORLD   38
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